                              1                                            Exhibit A

                              2                                    [PROPOSED] Interim Order

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                                    DEBTORS’ MOTION TO CONTINUE CASH
                                  Case: 19-30088 SYSTEM
                                    MANAGEMENT    Doc# 7-1   Filed:
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                                                                         16
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                             14      and Debtors in Possession
                             15                              UNITED STATES BANKRUPTCY COURT
                             16                              NORTHERN DISTRICT OF CALIFORNIA
                                                                  SAN FRANCISCO DIVISION
                             17
                                     In re:                            Case Nos.     19 - _______ (___)
                             18                                                      19 - _______ (___)
                                     PG&E CORPORATION,
                             19                                        Chapter 11
                                                               Debtor. [PROPOSED] INTERIM ORDER PURSUANT TO 11
                             20                                        U.S.C. §§ 105(a), 345(b), 363(b), AND 363(c), AND FED.
                                     Tax I.D. No. XX-XXXXXXX           R. BANKR. P. 6003 AND 6004 (I) AUTHORIZING
                             21                                        DEBTORS TO (A) CONTINUE THEIR EXISTING
                                      In re:
                                                                       CASH MANAGEMENT SYSTEM, (B) HONOR
                             22
                                      PACIFIC GAS AND ELECTRIC CERTAIN PREPETITION OBLIGATIONS RELATED
                                                                       TO THE USE THEREOF, (C) CONTINUE
                             23       COMPANY,                         INTERCOMPANY ARRANGEMENTS, (D) CONTINUE
                                                                       TO HONOR OBLIGATIONS RELATED TO JOINT
                             24                                Debtor. INFRASTRUCTURE PROJECTS, AND (E) MAINTAIN
                                                                       EXISTING BANK ACCOUNTS AND BUSINESS
                             25      Tax I.D. No. XX-XXXXXXX           FORMS; AND (II) WAIVING THE REQUIREMENTS
                                                                       OF 11 U.S.C. § 345(b)
                             26

                             27                                                Date:
                                                                               Time:
                             28                                                Place:

                                    DEBTORS
                                  Case:     ’ MOTION
                                        19-30088     TO C7-1
                                                   Doc#  ONTINUE  CASH
                                                              Filed: 01/29/19           Entered: 01/29/19 00:33:59   Page 2 of
                                    MANAGEMENT SYSTEM – EXHIBIT A         16
                              1              Upon the Motion, dated _______, 2019 (the “Motion”),1 of PG&E Corporation (“PG&E

                              2      Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and debtors in possession

                              3      (collectively, “PG&E” or the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11

                              4      Cases”), pursuant to sections 105(a), 345(b), 363(b), and 363(c) of title 11 of the United States Code

                              5      (the “Bankruptcy Code”) and Rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure

                              6      (the “Bankruptcy Rules”), requesting interim and final authority to (i) (a) continue operating their

                              7      existing cash management system (the “Cash Management System”), as described in the Motion,

                              8      including the continued maintenance of existing bank accounts at the Debtors’ banks (the “Banks”),

                              9      (b) honor certain prepetition obligations related to the Cash Management System, (c) continue certain

                             10      intercompany arrangements among the Debtors and certain non-Debtor affiliates and subsidiaries

                             11      (the “Non-Debtor Affiliates and Subsidiaries”), (d) continue to honor all obligations with respect to

                             12      certain Joint Infrastructure Projects, and (e) maintain existing business forms; and (ii) waive the
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                             13      requirements of section 345(b) of the Bankruptcy Code to the extent they apply to any of the Bank
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                             14      Accounts, all as more fully set forth in the Motion; and this Court having jurisdiction to consider the

                             15      Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, Order Referring

                             16      Bankruptcy Cases and Proceedings to Bankruptcy Judges, General Order 24 (N.D. Cal.), and Rule

                             17      5011-1(a) of the Bankruptcy Local Rules for the United States District Court for the Northern District

                             18      of California; and consideration of the Motion and the requested relief being a core proceeding pursuant

                             19      to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

                             20      1409; and the Court having found and determined that notice of the Motion as provided to the parties

                             21      listed therein is reasonable and sufficient under the circumstances, and it appearing that no other or

                             22      further notice need be provided; and this Court having reviewed the Motion and the Wells Declaration;

                             23      and this Court having held a hearing on the Motion; and this Court having determined that the legal and

                             24      factual bases set forth in the Motion establish just cause for the relief granted herein; and it appearing

                             25      that the relief requested in the Motion is necessary to avoid immediate and irreparable harm to the

                             26      Debtors and their estates as contemplated by Bankruptcy Rule 6003, and is in the best interests of the

                             27
                                     1
                             28       Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such
                                    terms in the Motion.
                                    DEBTORS’ MOTION TO CONTINUE CASH                   2
                                  Case: 19-30088 SYSTEM
                                    MANAGEMENT       Doc# 7-1     Filed:
                                                           – EXHIBIT  A 01/29/19 Entered: 01/29/19 00:33:59 Page 3 of
                                                                               16
                              1   Debtors, their estates, creditors, shareholders, and all parties in interest; and upon all of the proceedings

                              2   had before this Court and after due deliberation and sufficient cause appearing therefor,

                              3           IT IS HEREBY ORDERED THAT:

                              4           1.     The Motion is granted on an interim basis, as provided herein.

                              5           2.     The Debtors are authorized, but not directed, to continue to (a) maintain and manage

                              6   their cash pursuant to the Cash Management System in the same manner as before the Petition Date,

                              7   (b) collect and disburse cash in accordance with the Cash Management System, including

                              8   Intercompany Transactions between and among the Debtors and other Non-Debtor Affiliates and

                              9   Subsidiaries, (c) perform and honor all prepetition amounts owing under the PG&E Corp. CSA, the

                             10   Non-Debtor CSAs, the Stan-Pac Operating Agreement, the Gill Ranch Operating Agreements, and the

                             11   Joint Infrastructure Projects, in the ordinary course, and (d) make ordinary course changes to their Cash

                             12   Management System, without further order of the Court.
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                             13           3.     Each of the Banks is authorized, but not directed, to continue to honor transfers of funds
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                             14   in the Bank Accounts.

                             15           4.     The Debtors shall maintain accurate records of all transfers within the Cash Management

                             16   System and among the Debtors and Non-Debtor Affiliates and Subsidiaries so that all postpetition

                             17   transfers and transactions shall be adequately and promptly documented in, and readily ascertainable

                             18   from, their books and records, to the same extent maintained by the Debtors before the Petition Date.

                             19           5.     The Debtors are further authorized to (i) designate, maintain, and continue to use any or

                             20   all of its existing Bank Accounts, including those listed on Schedule 1 hereto, in the names and with

                             21   the account numbers existing immediately before the Petition Date, (ii) deposit funds in, and withdraw

                             22   funds from, such accounts by all usual means, including, without limitation, checks, wire transfers,

                             23   ACH transfers, and other debits, (iii) pay any Bank Fees or other charges associated with the Bank

                             24   Accounts, whether arising before or after the Petition Date, and (iv) treat their prepetition Bank

                             25   Accounts for all purposes as debtor in possession accounts.

                             26           6.     The Debtors are authorized to open new bank accounts; provided that, all accounts

                             27   opened by the Debtors on or after the Petition Date at any bank shall, for purposes of this Interim Order,

                             28   be deemed a Bank Account as if it had been listed on Schedule 1 annexed hereto; provided, further,
                                DEBTORS’ MOTION TO CONTINUE CASH                       3
                              Case: 19-30088 SYSTEM
                                MANAGEMENT    Doc# 7-1   Filed:
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                                                                     16
                              1   that such opening shall be timely indicated on the Debtors’ monthly operating reports and notice of

                              2   such opening shall be provided to the United States Trustee.

                              3          7.      All Banks with which the Debtors maintained Bank Accounts are authorized to debit the

                              4   Debtors’ accounts in the ordinary course of business without the need for further order of this Court

                              5   for: (i) all checks or other items deposited in the Debtors’ accounts with such Bank prior to the Petition

                              6   Date which have been dishonored or returned unpaid for any reason, together with any fees and costs

                              7   in connection therewith, to the same extent the Debtors were responsible for such items prior to the

                              8   Petition Date, and (ii) all undisputed prepetition amounts outstanding as of the date hereof, if any, owed

                              9   to any Bank as Bank Fees for the maintenance of or in connection with the Cash Management System,

                             10   which shall include all amounts owed by the Debtors to any Bank to repay or reimburse such Bank in

                             11   connection with ordinary course ACH transactions executed on behalf of or for the accounts of the

                             12   Debtors.
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                             13          8.      The Banks are authorized to charge, and the Debtors are authorized and directed to pay,
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                             14   honor, or allow, both prepetition and postpetition fees, costs, charges, and expenses, including the Bank

                             15   Fees and charge back returned items to the Bank Accounts in the ordinary course.

                             16          9.      The Debtors are authorized and directed to pay, honor, or allow, both prepetition and

                             17   postpetition Payment Processing Fees in the ordinary course.

                             18          10.     The Banks shall not be liable to any party on account of: (i) following the Debtors’

                             19   representations, instructions, or presentations as to any order of the Court (without any duty of further

                             20   inquiry); (ii) the honoring of any prepetition checks, drafts, wires, or ACH transfers in a good faith

                             21   belief or upon a representation by the Debtors that the Court has authorized such prepetition check,

                             22   draft, wires, or ACH transfers; or (iii) an innocent mistake made despite implementation of reasonable

                             23   handling procedures.

                             24          11.     Nothing contained herein shall prevent the Debtors from closing any Bank Account(s)

                             25   in the ordinary course and in accordance with their prepetition practices as they may deem necessary

                             26   and appropriate, any relevant Bank is authorized to honor the Debtors’ requests to close such Bank

                             27   Accounts, and the Debtors shall give notice of the closure of any account to the United States Trustee.

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                                DEBTORS’ MOTION TO CONTINUE CASH                     4
                              Case: 19-30088 SYSTEM
                                MANAGEMENT    Doc# 7-1   Filed:
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                                                                     16
                              1           12.    The requirements of section 345(b) of the Bankruptcy Code and the UST Guidelines are

                              2   hereby waived.

                              3           13.    The Debtors are authorized to use their existing Business Forms and not print “debtor in

                              4   possession” on any of their Business Forms, and any otherwise applicable requirement that the Debtors

                              5   print “debtor in possession” on any new checks ordered during the Chapter 11 Cases, or that the

                              6   Debtors change their system for electronic generation of checks and Business Forms to reflect their

                              7   status as debtors in possession, is hereby waived.

                              8           14.    Nothing in the Motion or this Interim Order shall be deemed to authorize the Debtors to

                              9   accelerate any payments not otherwise due prior to the Court’s ultimate disposition of the Motion on a

                             10   final basis.

                             11           15.    Nothing contained in this Interim Order or in the Motion is intended to be or shall be

                             12   construed as (a) an admission as to the validity of any claim against the Debtors, (b) a waiver of the
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                             13   Debtors’ or any appropriate party in interest’s rights to dispute any claim, or (c) an approval or
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                             14   assumption of any agreement, contract, program, policy, or lease under section 365 of the Bankruptcy

                             15   Code. Likewise any payment made pursuant to this Interim Order is not intended to be and shall not

                             16   be construed as an admission to the validity of any claim or a waiver of the Debtors’ rights to dispute

                             17   such claim subsequently.

                             18           16.    Notwithstanding entry of this Interim Order, nothing herein shall create, nor is intended

                             19   to create, any rights in favor of or enhance the status of any claim held by, any party.

                             20           17.    The requirements for immediate entry of this Interim Order pursuant to Bankruptcy Rule

                             21   6003(b) have been satisfied.

                             22           18.    Notwithstanding the provisions of Bankruptcy Rule 6004(h), this Interim Order shall be

                             23   immediately effective and enforceable upon its entry.

                             24           19.    The Debtors are authorized to take all steps necessary or appropriate to carry out this

                             25   Interim Order.

                             26           20.    A final hearing to consider the relief requested in the Motion shall be held on _____,

                             27   ____ at ______ (Prevailing Pacific Time) and any objections or responses to the Motion shall be filed

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                                DEBTORS’ MOTION TO CONTINUE CASH                     5
                              Case: 19-30088 SYSTEM
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                                                                     16
                              1   and served so as to be actually received on or prior to _______, ____ at 4:00 p.m. (Prevailing Pacific

                              2   Time).

                              3            21.   This Court shall retain jurisdiction to hear and determine all matters arising from or

                              4   related to the implementation, interpretation, or enforcement of this Interim Order.

                              5                                          ** END OF ORDER **

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                                DEBTORS’ MOTION TO CONTINUE CASH                    6
                              Case: 19-30088 SYSTEM
                                MANAGEMENT    Doc# 7-1   Filed:
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                                                                     16
                              1                                              Schedule 1

                              2                                   List of Banks and Bank Accounts

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                                    DEBTORS’ MOTION TO CONTINUE CASH
                                    MANAGEMENT
                                  Case: 19-30088 – SDoc# 7-1 1 TO
                                                     CHEDULE      [PROPOSED
                                                               Filed:       ]
                                                                      01/29/19   Entered: 01/29/19 00:33:59   Page 8 of
                                    INTERIM ORDER                          16
                              1                                                                                          Account
                                            Bank Name       Debtor        Account Type              Description          No. (Last
                              2                                                                                          4 Digits)
                                            The Bank of     Pacific Gas
                              3             New York        & Electric    Brokerage                 Brokerage Account    XXX8400
                                            Mellon          Company
                              4             The Bank of     Pacific Gas
                                                                                                    Brokerage Account
                              5             New York        & Electric    Brokerage                                      XXX8400
                                                                                                    - VPDI
                                            Mellon          Company
                              6                             Pacific Gas
                                            Bank of                                                 Campground
                                                            & Electric    Campground Collection                          XXX2302
                                            America                                                 Receipts
                              7                             Company
                                                            Pacific Gas
                                                                                                    Campground
                              8             U.S. Bank       & Electric    Campground Collection
                                                                                                    Receipts
                                                                                                                         XXX2311
                                                            Company
                              9                             Pacific Gas
                                            Citibank N.                   Collection - Non energy   Non-Energy
                                                            & Electric                                                   XXX0901
                             10             A.                            billing                   Receipts
                                                            Company
                                            Citigroup       Pacific Gas
                             11             Global          & Electric    CP Settlement             Brokerage Account    XXX6473
                                            Markets         Company
                             12
                                                            Pacific Gas
                                            Bank of
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                             13                             & Electric    Customer Depository       Customer Receipts    XXX0817
 New York, NY 10153-0119




                                            America
                                                            Company
                                                            Pacific Gas
      767 Fifth Avenue




                             14             Citibank N.
                                                            & Electric    Customer Depository       Customer Receipts    XXX1958
                                            A.
                             15                             Company
                                            The Bank of     Pacific Gas
                             16             New York        & Electric    Customer Depository       Customer Receipts    XXX5477
                                            Mellon          Company
                             17             The Bank of     Pacific Gas
                                            New York        & Electric    Customer Depository       Customer Receipts    XXX7822
                             18             Mellon          Company
                                                            Pacific Gas                             Concentration
                             19             Union Bank
                                                            & Electric    Customer Depository       Account for          XXX5581
                                            of California
                                                            Company                                 Customer Receipts
                             20
                                            The Bank of     Pacific Gas
                                                                          Customer Refund and       Customer Receipts
                             21             New York        & Electric                                                   XXX3044
                                                                          Rebate Disbursement       and Disbursements
                                            Mellon          Company
                             22             The Bank of     Pacific Gas
                                                                          Customer Refund and
                                            New York        & Electric                              Customer refunds     XXX3532
                                                                          Rebate Disbursement
                             23             Mellon          Company
                                            The Bank of     Pacific Gas
                             24             New York        & Electric    Disability Disbursement   Employee Benefits    XXX8544
                                            Mellon          Company
                             25             The Bank of     Pacific Gas
                                            New York        & Electric    Disbursement              Gill Ranch           XXX4122
                             26             Mellon          Company
                                                            Pacific Gas
                             27             Royal Bank                    Gas Purchase              Canadian Currency
                                                            & Electric                                                   XXX0446
                                            of Canada                     Disbursement              Exchange
                                                            Company
                             28
                                    DEBTORS’ MOTION TO CONTINUE CASH
                                    MANAGEMENT
                                  Case: 19-30088 – SDoc#
                                                     CHEDULE 1 TO [PROPOSED]
                                                         7-1 Filed: 01/29/19          Entered: 01/29/19 00:33:59        Page 9 of
                                    INTERIM ORDER                         16
                              1                                                                                      Account
                                        Bank Name       Debtor        Account Type            Description            No. (Last
                              2                                                                                      4 Digits)
                                        The Bank of     Pacific Gas
                              3                                       Land Draft
                                        New York        & Electric                            Other Operating        XXX0143
                                                                      Disbursement
                                        Mellon          Company
                              4                         Pacific Gas
                                        Citibank N.
                              5                         & Electric    Outside Collection      Customer Receipts      XXX2316
                                        A.
                                                        Company
                              6                         Pacific Gas
                                        Bank of
                                                        & Electric    Payroll Disbursement    Payroll                XXX7115
                                        America
                              7                         Company
                                                        Pacific Gas
                                        Bank of                                               Concentration
                              8         America
                                                        & Electric    Utility Concentration
                                                                                              account BofA
                                                                                                                     XXX3212
                                                        Company
                              9                         Pacific Gas                           Securities
                                        Citibank N.
                                                        & Electric    Utility Concentration   Settlement Account     XXX2091
                             10         A.
                                                        Company                               (CP)
                                        The Bank of     Pacific Gas                           Concentration
                             11                                       Utility Master
                                        New York        & Electric                            account at BNY         XXX9994
                                                                      Concentration
                                        Mellon          Company                               Mellon (Utility)
                             12
                                        The Bank of     Pacific Gas
                                                                                              Vendor and
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                             13         New York        & Electric    Vendor Disbursement                            XXX9978
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                                                                                              employee payments
                                        Mellon          Company
                                        The Bank of     PG&E
      767 Fifth Avenue




                             14
                                        New York        Corporation   Brokerage               Brokerage Account      XXX8400
                             15         Mellon
                                        Bank of         PG&E
                                                                      Payroll Disbursement    Payroll                XXX7981
                             16         America         Corporation
                                        Bank of         PG&E
                             17                                       Payroll Disbursement    Payroll                XXX7107
                                        America         Corporation
                                        The Bank of     PG&E
                             18         New York        Corporation   Payroll Disbursement    Payroll                XXX9946
                                        Mellon
                             19         Union Bank      PG&E
                                                                      Payroll Disbursement    Employee payments      XXX9557
                                        of California   Corporation
                             20
                                        The Bank of     PG&E                                  Concentration
                             21         New York        Corporation   PG&E Concentration      account at BNY         XXX9023
                                        Mellon                                                Mellon (Corp)
                             22         The Bank of     PG&E
                                                                                              Vendor and
                                        New York        Corporation   Vendor Disbursement                            XXX4558
                                                                                              employee payments
                             23         Mellon
                                        The Bank of     Pacific Gas
                                                                                              PG&E Credit
                             24         New York        & Electric    Disbursement                                   XXX9990
                                                                                              Assurance Account
                                        Mellon          Company
                             25                         Pacific Gas
                                        Bank of
                                                        & Electric    Payroll Disbursement    Payroll                XXX1675
                             26         America
                                                        Company
                                                        Pacific Gas
                             27         Deutsche
                                                        & Electric    Disbursement            Tax Exempt Bonds       XXX8541
                                        Bank Trust
                                                        Company
                             28
                                 DEBTORS’ MOTION TO CONTINUE CASH       2
                                 M ANAGEMENT – SCHEDULE 1 TO [PROPOSED]
                              Case: 19-30088 Doc# 7-1 Filed: 01/29/19 Entered: 01/29/19 00:33:59                   Page 10 of
                                 INTERIM ORDER                       16
                              1                                                                         Account
                                        Bank Name    Debtor        Account Type    Description          No. (Last
                              2                                                                         4 Digits)
                                        Company
                              3         Americas
                                        Deutsche     Pacific Gas
                              4         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5410
                              5         Company      Company
                                        Americas
                              6         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5411
                              7         Company      Company
                                        Americas
                              8         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5412
                              9         Company      Company
                                        Americas
                             10         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                             11                                    Disbursement    Tax Exempt Bonds     XXX5413
                                        Company      Company
                                        Americas
                             12         Deutsche     Pacific Gas
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                                        Bank Trust   & Electric
                             13
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                                                                   Disbursement    Tax Exempt Bonds     XXX5414
                                        Company      Company
                                        Americas
      767 Fifth Avenue




                             14
                                        Deutsche     Pacific Gas
                             15         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5415
                                        Company      Company
                             16         Americas
                                        Deutsche     Pacific Gas
                             17         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5416
                                        Company      Company
                             18         Americas
                                        Deutsche     Pacific Gas
                             19         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX8542
                                        Company      Company
                             20         Americas
                                        Deutsche     Pacific Gas
                             21
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX8543
                             22         Company      Company
                                        Americas
                             23         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX8544
                             24         Company      Company
                                        Americas
                             25         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                             26                                    Disbursement    Tax Exempt Bonds     XXX8545
                                        Company      Company
                                        Americas
                             27

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                                 DEBTORS’ MOTION TO CONTINUE CASH       3
                                 M ANAGEMENT – SCHEDULE 1 TO [PROPOSED]
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                                 INTERIM ORDER                       16
                              1                                                                         Account
                                        Bank Name    Debtor        Account Type    Description          No. (Last
                              2                                                                         4 Digits)
                                        Deutsche     Pacific Gas
                              3         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX8546
                                        Company      Company
                              4         Americas
                              5         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX8547
                              6         Company      Company
                                        Americas
                              7         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX8548
                              8         Company      Company
                                        Americas
                              9         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                             10                                    Disbursement    Tax Exempt Bonds     XXX8549
                                        Company      Company
                                        Americas
                             11         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                             12                                    Disbursement    Tax Exempt Bonds     XXX4310
                                        Company      Company
                                        Americas
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                             13
 New York, NY 10153-0119




                                        Deutsche     Pacific Gas
                                        Bank Trust   & Electric
      767 Fifth Avenue




                             14                                    Disbursement    Tax Exempt Bonds     XXX4311
                                        Company      Company
                             15         Americas
                                        Deutsche     Pacific Gas
                             16         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX4312
                                        Company      Company
                             17         Americas
                                        Deutsche     Pacific Gas
                             18         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5436
                                        Company      Company
                             19         Americas
                                        Deutsche     Pacific Gas
                             20         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5437
                                        Company      Company
                             21
                                        Americas
                             22         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5438
                             23         Company      Company
                                        Americas
                             24         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5501
                             25         Company      Company
                                        Americas
                             26         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                             27                                    Disbursement    Tax Exempt Bonds     XXX5010
                                        Company      Company
                                        Americas
                             28
                                 DEBTORS’ MOTION TO CONTINUE CASH       4
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                              1                                                                         Account
                                        Bank Name    Debtor        Account Type    Description          No. (Last
                              2                                                                         4 Digits)
                                        Deutsche     Pacific Gas
                              3         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5011
                                        Company      Company
                              4         Americas
                              5         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5012
                              6         Company      Company
                                        Americas
                              7         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5013
                              8         Company      Company
                                        Americas
                              9         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                             10                                    Disbursement    Tax Exempt Bonds     XXX5014
                                        Company      Company
                                        Americas
                             11         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                             12                                    Disbursement    Tax Exempt Bonds     XXX5015
                                        Company      Company
                                        Americas
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                                        Deutsche     Pacific Gas
                                        Bank Trust   & Electric
      767 Fifth Avenue




                             14                                    Disbursement    Tax Exempt Bonds     XXX5016
                                        Company      Company
                             15         Americas
                                        Deutsche     Pacific Gas
                             16         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5017
                                        Company      Company
                             17         Americas
                                        Deutsche     Pacific Gas
                             18         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5018
                                        Company      Company
                             19         Americas
                                        Deutsche     Pacific Gas
                             20         Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5019
                                        Company      Company
                             21
                                        Americas
                             22         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5502
                             23         Company      Company
                                        Americas
                             24         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement    Tax Exempt Bonds     XXX5020
                             25         Company      Company
                                        Americas
                             26         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                             27                                    Disbursement    Tax Exempt Bonds     XXX5021
                                        Company      Company
                                        Americas
                             28
                                 DEBTORS’ MOTION TO CONTINUE CASH       5
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                              1                                                                                 Account
                                        Bank Name    Debtor        Account Type            Description          No. (Last
                              2                                                                                 4 Digits)
                                        Deutsche     Pacific Gas
                              3         Bank Trust   & Electric
                                                                   Disbursement            Tax Exempt Bonds     XXX5022
                                        Company      Company
                              4         Americas
                              5         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement            Tax Exempt Bonds     XXX5023
                              6         Company      Company
                                        Americas
                              7         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement            Tax Exempt Bonds     XXX5024
                              8         Company      Company
                                        Americas
                              9         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                             10                                    Disbursement            Tax Exempt Bonds     XXX5503
                                        Company      Company
                                        Americas
                             11         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                             12                                    Disbursement            Tax Exempt Bonds     XXX5504
                                        Company      Company
                                        Americas
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                                        Deutsche     Pacific Gas
                                        Bank Trust   & Electric
      767 Fifth Avenue




                             14                                    Disbursement            Tax Exempt Bonds     XXX5505
                                        Company      Company
                             15         Americas
                                        Deutsche     Pacific Gas
                             16         Bank Trust   & Electric
                                                                   Disbursement            Tax Exempt Bonds     XXX5506
                                        Company      Company
                             17         Americas
                                        Deutsche     Pacific Gas
                             18         Bank Trust   & Electric
                                                                   Disbursement            Tax Exempt Bonds     XXX5507
                                        Company      Company
                             19         Americas
                                        Deutsche     Pacific Gas
                             20         Bank Trust   & Electric
                                                                   Disbursement            Tax Exempt Bonds     XXX5508
                                        Company      Company
                             21
                                        Americas
                             22         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement            Tax Exempt Bonds     XXX5509
                             23         Company      Company
                                        Americas
                             24         Deutsche     Pacific Gas
                                        Bank Trust   & Electric
                                                                   Disbursement            Tax Exempt Bonds     XXX3871
                             25         Company      Company
                                        Americas
                             26                      Pacific Gas
                                        Bank of
                                                     & Electric    Asbestos Disbursement   Other Operating      XXX2988
                             27         America
                                                     Company
                             28
                                 DEBTORS’ MOTION TO CONTINUE CASH       6
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                              1                                                                               Account
                                        Bank Name     Debtor        Account Type       Description            No. (Last
                              2                                                                               4 Digits)
                                        Deutsche      Pacific Gas
                              3         Bank Trust    & Electric
                                                                    Disbursement       Tax Exempt Bonds       XXX4XL9
                                        Company       Company
                              4         Americas
                              5         Deutsche      Pacific Gas
                                        Bank Trust    & Electric
                                                                    Disbursement       Tax Exempt Bonds       XXX7110
                              6         Company       Company
                                        Americas
                              7         The Bank of   Pacific Gas
                                        New York      & Electric    Disbursement       Payroll                XXX4017
                              8         Mellon        Company
                                        U. S. Bank    Pacific Gas
                              9         N.A. Global   & Electric
                                        Corporate     Company       Disbursement       Escrow                 XXX8000
                             10         Trust
                                        Services
                             11         U. S. Bank    Pacific Gas
                                        N.A. Global   & Electric
                             12         Corporate     Company       Disbursement       Escrow                 XXX9000
                                        Trust
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                                        Services
                                        U. S. Bank    Pacific Gas
      767 Fifth Avenue




                             14
                                        N.A. Global   & Electric
                             15         Corporate     Company       Disbursement       Escrow                 XXX6000
                                        Trust
                             16         Services
                                        U. S. Bank    Pacific Gas
                             17         N.A. Global   & Electric
                                        Corporate     Company       Disbursement       Escrow                 XXX8100
                             18         Trust
                                        Services
                             19         U. S. Bank    Pacific Gas
                                        N.A. Global   & Electric
                             20         Corporate     Company       Disbursement       Escrow                 XXX3500
                                        Trust
                             21         Services
                             22         U. S. Bank    Pacific Gas
                                        N.A. Global   & Electric
                             23         Corporate     Company       Disbursement       Escrow                 XXX9500
                                        Trust
                             24         Services
                                                      PG&E                             Securities
                                        Citibank N.                 Commercial Paper
                             25         A.
                                                      Corporation
                                                                    Program
                                                                                       Settlement Account     XXX9167
                                                                                       (CP)
                             26         Bank of       PG&E                             PG&E Political
                                                                    Disbursement                              XXX0132
                                        Marin         Corporation                      Action Committee
                             27         Bank of       PG&E                             PG&E Political
                                                                    Disbursement                              XXX0140
                                        Marin         Corporation                      Action Committee
                             28
                                 DEBTORS’ MOTION TO CONTINUE CASH       7
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                              1                                                                            Account
                                        Bank Name       Debtor        Account Type   Description           No. (Last
                              2                                                                            4 Digits)
                                        Fidelity        PG&E
                              3         Management      Corporation
                                                                      Disbursement   Trust Account         XXX0137
                                        Trust
                              4         Company
                              5         Wells Fargo     PG&E
                                                                      Disbursement   Trust Account         XXX5300
                                        Bank N.A.       Corporation
                              6         Wells Fargo     PG&E
                                                                      Disbursement   Trust Account         XXX5400
                                        Bank N.A.       Corporation
                              7                         Pacific Gas
                                        Wells Fargo
                                                        & Electric    Disbursement   Trust Account         XXX9578
                                        Bank N.A.
                              8                         Company
                                        Bank of         PG&E                         Continuous Equity
                              9                                       Disbursement                         XXX0X30
                                        America         Corporation                  Offering
                                        Barclays        PG&E                         Continuous Equity
                             10                                       Disbursement                         XXX1362
                                        Capital Inc.    Corporation                  Offering
                                                        PG&E                         Continuous Equity
                             11         BNP Paribas                   Disbursement                         XXX0652
                                                        Corporation                  Offering
                                        Citigroup       PG&E
                             12                                                      Continuous Equity
                                        Global          Corporation   Disbursement                         XXX0473
                                                                                     Offering
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                             13         Markets
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                                        Goldman,        PG&E                         Continuous Equity
                                                                      Disbursement                         XXX0609
                                        Sachs & Co      Corporation                  Offering
      767 Fifth Avenue




                             14
                                        JP Morgan       PG&E
                                                                                     Continuous Equity
                             15         Chase Bank,     Corporation   Disbursement                         XXX0698
                                                                                     Offering
                                        N.A.
                             16                         PG&E                         Continuous Equity
                                        Merrill Lynch                 Disbursement                         XXX0X30
                                                        Corporation                  Offering
                             17         Mitsubishi      PG&E
                                        UFJ             Corporation                  Continuous Equity
                             18                                       Disbursement                         XXX0189
                                        Securities                                   Offering
                                        USA, INC.
                             19         Morgan          PG&E
                                                                                     Continuous Equity
                                        Stanley / ISG   Corporation   Disbursement                         XXX4966
                             20                                                      Offering
                                        Operations
                             21         RBC Capital     PG&E                         Continuous Equity
                                                                      Disbursement                         XXX2226
                                        Markets         Corporation                  Offering
                             22         Royal Bank      PG&E                         Continuous Equity
                                                                      Disbursement                         XXX2141
                                        of Scotland     Corporation                  Offering
                             23         Wells Fargo     PG&E
                                                                                     Continuous Equity
                                        Securities,     Corporation   Disbursement                         XXX7221
                             24                                                      Offering
                                        LLC

                             25

                             26

                             27

                             28
                                 DEBTORS’ MOTION TO CONTINUE CASH       8
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